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10                               UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA

12   Jennifer Pardo and Evangeline Matthews,    Case No: 3:21-cv-06326-RS
     individually and on behalf of all others
13   similarly situated,
                                                DEFENDANT PAPA, INC.’S OPPOSITION
14                          Plaintiffs,         TO CLASS CERTIFICATION

15            v.
                                                TAC Filed: 9/14/2022
16   Papa, Inc.,                                Trial Date:      Not set

17                          Defendants.

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 1   I.       INTRODUCTION

 2            To hear Plaintiffs Jennifer Pardo and Evangeline Matthews (“Plaintiffs”) tell it in their

 3   Motion for Class Certification (“Motion”), Defendant Papa Inc.’s (“Papa”) liability — and

 4   therefore the question of certification in this case — “relies solely” on resolving one question:

 5   were they, and the 3,872 individuals they seek to represent (called, “Pals”), independent

 6   contractors or not?

 7            Of course, this Court knows better, and there is a reason why even the California

 8   Supreme Court has acknowledged that misclassification cases are difficult, if not impossible, to

 9   litigate on a classwide basis.1 That reason—a Russian doll of liability questions, the outermost

10   of which addresses only whether common evidence will resolve the misclassification question

11   and leaves unanswered whether common evidence resolves each underlying claim—is

12   epitomized here. Certainly, even if the threshold misclassification question can be resolved

13   with common evidence, individual issues will overwhelm each of Plaintiffs’ underlying claims

14   and the facts prove it:

15            First, Plaintiffs are not typical of the class. Both Plaintiffs offered false testimony in

16   support of their claims, calling into question their adequacy class representatives. Besides,

17   unlike 99.9% the class, Plaintiffs did not sign a class action waiver. Courts have consistently

18   concluded that plaintiffs who are not subject to an arbitration clause with a class action waiver

19   are not adequate representatives of putative class members that are. Class certification is

20   improper for this reason alone.

21            Second, Plaintiffs’ minimum wage and overtime claims are ill suited for class treatment.

22   These claims rest on Plaintiffs’ theory that Papa’s Visit Standards policy requires Pals to

23   perform work without pay. Ignoring for the moment that this policy didn’t even exist until May

24   of last year, the problem with Plaintiffs’ theory is that they fail to offer any evidence that Papa

25   consistently applied the Visit Standards policy in practice after it was created. In fact, the

26   available evidence proves Papa did not. Courts have been reluctant to certify classes in the

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28       See Duran v. U.S. Bank Natl. Assn., 59 Cal. 4th 1, 27 (2014)
                                                       1              Case No.: 3:21-cv-06326-RS
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 1   absence of evidence that an unlawful policy consistently applied to putative class members.

 2            Third, individual issues predominate Plaintiffs’ meal period subclasses because their

 3   theories of liability—that (1) Papa lacks a written policy memorializing that it provides meal

 4   periods; and (2) the absence of time records raise a rebuttable presumption of liability—cannot

 5   be resolved with common proof. To start, the absence of a written policy to provide meal

 6   periods does not equate to common evidence that Papa uniformly failed to authorize and permit

 7   them. Besides, the evidence shows that Papa always “provides” meal periods because it neither

 8   maintains nor retains control over how, when, where, or how long Pals perform services.

 9   Plaintiffs offer absolutely no evidence to the contrary. What’s more, the presumption of

10   liability afforded by the absence of time records is just that, a presumption. Papa must still have

11   the opportunity to show that it provided meal periods, but that Pals chose not to take them.

12   Plaintiffs offer no plan to show how this proof can be managed on a classwide basis without

13   turning into a trial for each individual Pal.

14            Fourth, Plaintiffs’ rest period claims are individualized. Plaintiffs have no common

15   evidence that Papa failed to provide rest periods or that Papa undermined, discouraged, or

16   impeded Pals from taking them.

17            Fifth, no common evidence shows that Papa required Pals to incur any cellphone or

18   internet expenses. The fact that interfacing with the Papa App requires an internet or active

19   cellular connection cannot form the basis for class certification where Pals have access to and

20   could have used free sources of internet. Resolution of this issue will therefore require this Court

21   to address individualized inquiries including whether such expenses were reasonably necessary

22   or incurred out of preference or convenience to Pals. And as to transportation and commute

23   expenses, common evidence shows Papa paid Pals for those. This claim cannot proceed on a

24   classwide basis.

25            Sixth, damages will be near impossible to calculate. Plaintiffs cannot rely on the App’s

26   data for their minimum wage and overtime claims because it is insufficient for a myriad reasons,

27   including that it fails to track time spent outside the App and that Pals frequently fail to end visits

28   or stop times. And their claim for expenses is far too individualized to manage damages
                                                2                       Case No.: 3:21-cv-06326-RS
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 1   calculations in any common way. Damages will predominate any trial of the claims in this matter,

 2   and Plaintiffs offer next to nothing in way of a trial plan to manage them.

 3            Finally, a class action is not the superior method for managing litigation of the claims

 4   alleged in this case. Plaintiffs’ claims require each Pal to litigate numerous and substantial issues

 5   to establish liability, and damages may prove impossible to calculate entirely.

 6            There can be no doubt that class certification is improper, and this Court should deny

 7   Plaintiffs’ Motion accordingly.

 8   II.      PROCEDURAL AND FACTUAL BACKGROUND

 9            A.          Papa’s Business Operations.

10            Papa is an application-based technology company that connects people in need (called,

11   “Members”) with people that want to provide certain non-medical support tasks and

12   companionship. Declaration of Dani Bchara in Support of Defendant’s Opposition to Class

13   Certification (“Bchara Decl.”) ¶ 5. The marketplace is paid for by Medicare Advantage,

14   Medicaid, commercial health plans, and employee benefit plans (called “Clients”). Id. The

15   Clients offer to their constituents Papa and its Pal network as a supplemental companionship

16   service benefit. Papa provides the platform, or marketplace, to enable safe and effective

17   connections between Members and Pals. Id. Papa does not provide any services to Members, nor

18   does Papa have any privity of contract with Members. Id. Neither Papa, nor any of its subsidiaries

19   or affiliates, retains any control over the services that Pals ultimately perform. Id.

20            Papa does, however, provide services to its Clients, and the marketplace Papa powers is

21   merely a part of the overall value proposition that Papa sells to its Clients. Id. ¶ 6. Papa’s market

22   differentiator is its set of developed technologies that enable Papa to (i) focus on specific goals

23   for specific Client populations, (ii) provide detailed analytics to Clients on their Members’ care

24   needs, trends, and successful health care gap closures, and (iii) enabling Clients to collaborate

25   with other third parties to quickly and efficiently get their Members timely support. Id. Papa’s

26   Clients rely on Papa’s advanced technology to address health care gaps and social determinants

27   of health affecting their membership population more effectively. Id. This ultimately leads to

28   healthier Members and lower long-term health-plan costs. Id. Here’s how Pal’s fit in: they
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 1   provide companionship and support services directly to Members (“Services”). Id. ¶ 7. These

 2   Services have been shown to promote independence (by helping older adults age in place), reduce

 3   inequities (by reaching historically marginalized populations), cure loneliness (by connecting

 4   isolated adults with compassionate listeners), control health care costs (by supporting Members’

 5   access to preventative health care services, helping Members obtain their medications and

 6   ensuring they get to their medical appointments) and improve overall outcomes (by helping

 7   Members feel physically and mentally healthier). Id.

 8              B.        Papa Classifies Pals As Independent Contractors And Treats Them Like It.

 9              An independent contractor agreement—previously called the End User License

10   Agreement (“EULA”) and currently called the Papa Pal Agreement, together the “Pal

11   Agreement”—governs the relationship between Papa and Pals. Bchara Decl. ¶ 8. The Pal

12   Agreement contains an arbitration clause, with a class waiver, and over 99.9% of the class have

13   agreed to arbitrate all their disputes with Papa, including this one. Id.

14              The application process for Pals consists of a background check (which Papa is required

15   by contract with its Clients, and by law in certain instances, to procure), agreeing to the Pal

16   Agreement, attesting to various safety related commitments (to demonstrate that a Pal meets the

17   qualifications to perform the Services in accordance with Clients’ requests), and reviewing an

18   orientation video that explains how to use the App and the like. Id. ¶ 9.

19              Once Pals are approved to use Papa’s platform, Papa exercises little to no control over

20   them. Id. ¶ 10. Pals are completely free to choose to accept any available visit presented in the

21   App. Id. Papa tracks visits and mileage (if applicable) through the App for ease of payment

22   purposes. Id. It also asks Pals to certify when the visit has been completed so Papa can pay the

23   Pal. Id.

24              In California, Papa pays Pals an hourly rate—which can be adjusted based on demand—

25   and transportation pay (which is pay for transporting Members as part of the Service provided)

26   by the mile. Id. ¶ 11. Until March 16, 2023, Papa also paid Pals commute pay, for all travel

27   expenses to and from a visit. Id. After that date, Papa increased the hourly rate and folded

28   commute expense pay into the hourly rate such that currently, Papa intends the hourly rate to
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 1   compensate Pals for commute expenses and visit time. Id. Transportation pay is still paid

 2   separately. Id. Although the hourly rate has always exceeded the minimum wage, Pals are still

 3   free to negotiate different rates with Papa, and to accept or reject rates if they deem a rate

 4   unacceptable. Id. Pals can also contact Papa support for any pay issues. Id.

 5            Papa does not require Pals to incur any expenses, and tools are not required to perform

 6   any Service. Id. ¶ 12. If a Pal wants to use Papa’s App, they must be connected to the internet or

 7   a data plan, but Papa does not require Pals to purchase an internet or data plan and Pals are free

 8   to access free sources of internet to interface with the App, including at the library or retail

 9   establishments. Id. That said, Papa does have a practice of reimbursing Pals for reasonably

10   necessary expenses, including for parking and tolls. Id.

11            C.          Papa Suggests That Pals Follow Its Visit Standards, But In Practice, Does

12                        Not Enforce Most Of Them.

13             Papa’s Visit Standards policy—which didn’t even exist until May 9, 2023— provides

14   Pals with general common-sense guidelines to use before, during, and after visits. Bchara Decl.

15   ¶ 13. The Visit Standards suggest that Pals, for example, review visit details, arrive on time and

16   leave on time, be SAFE, and to avoid engaging in behaviors that are simply not professional

17   (e.g., bringing others such as family members or pets to the visit, sharing Member information,

18   using recreational drugs or alcohol while driving or otherwise as it could endanger the well-

19   being of the Member or Pal, and engaging in criminal behavior). Id.

20            Except for the behaviors that Papa asks Pals to never engage in (e.g., behavior that

21   could endanger the safety of the Pal or a Member), these guidelines are suggestions, and Papa

22   does not enforce this policy in practice. Id. Significantly, Papa has no record of ever

23   disciplining a Pal for failing to: confirm visits, call a Member, or complete or incorrectly

24   completing visit feedback. Id. Consequently, not every Pal follows these guidelines:

25                 •      Plaintiff Matthews admitted that she did not consistently confirm visits by

26                        calling Members, and that she was never disciplined or removed from the

27                        platform for failing to do so. Ex. 3 to Declaration of Ellen Bronchetti in Support

28                   of Defendant’s Opposition to Class Certification (“Bronchetti Decl.”),
                                                    5                        Case No.: 3:21-cv-06326-RS
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 1                        Deposition of Evangeline Matthews (“Matthews Dep.”) 211:8–22.

 2                 •      Plaintiff Pardo provided no testimony that she was forced to follow the Visit

 3                        Standards at all. Exhibit 2 to Bronchetti Decl., Deposition of Jennifer Pardo

 4                        (“Pardo Dep.”).

 5                 •      Papa’s declarants explained that whether they call Members to confirm visits

 6                        depends on the type of relationship they have with the Member. See Ex. 4 to

 7                        Bronchetti Decl., Declaration of Priscilla Hoyt (“Hoyt Decl.”) ¶ 14; Ex. 8 to

 8                        Bronchetti Decl., Declaration of Zerina Gacanovic (“Gacanovic Decl.”) ¶ 13;

 9                        Ex. 10 to Bronchetti Decl., Declaration of Jennifer Martin (“Martin Decl.”) ¶ 12;

10                        Ex. 11 to Bronchetti Decl., Declaration of Marsi Haney (“Haney Decl.”) ¶ 14;

11                        Ex. 13 to Bronchetti Decl., Declaration of Makayla Johnson (“Johnson Decl.”) ¶

12                        13.

13                 •      Papa’s declarants also understand that the Visit Standards are not requirements.

14                        See Martin Decl. ¶ 16; Haney Decl. ¶ 20; Johnson Decl. ¶ 19.

15                 •      And, while some Pals regularly choose to provide feedback after a visit, they

16                        understand they are not required to do so. See Martin Decl. ¶ 15; Haney Decl. ¶

17                        19; Johnson Decl. ¶ 18.

18            D.          Pals Choose What Support To Provide And When, Where, And How To

19                        Provide It.

20            Pals can choose to accept visits that align with their Services preference. Bchara Decl. ¶

21   14. Services include, for example, providing companionship (such as playing board games,

22   watching television or movies, discussing thoughts, feelings, news, and experiences), grocery

23   shopping (including driving to and from the store, picking up grocery items from a list, putting

24   away groceries), health reminders (including helping the Member schedule appointments and

25   wellness checks, such as, reminding the Member to get their eyes checked), helping Members

26   obtain their medications from the pharmacy, transportation (including taking the Member on trips

27   to places of worship, doctor appointments, community centers, events, libraries, parks and trails,

28   to visit friends and family), errand assistance (like driving to and from a store or pharmacy or
                                                      6                       Case No.: 3:21-cv-06326-RS
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 1   accompanying Members to places like the bank or salon), parental support (including engaging

 2   in fitness activities and games, going to the park, overseeing meal time), exercise assistance (such

 3   as attending exercise classes with the Member, encouraging the Member to join them on a walk,

 4   assisting the Member with exercise), technology help (including setting up personal devices,

 5   assisting Members with social media, showing Members how to stream services, assisting with

 6   telehealth appointments), pet help (including pet walking, pet companionship, filling water or

 7   food bowls, making grooming appointments), and house task assistance (such as light dusting,

 8   folding clothes, prepping meals, clearing the table, organizing, though nothing that would amount

 9   to work that a professional would perform). Id.

10            Pals also choose when, where, and how they would like to provide the Services. Id. ¶ 15.

11   After signing up to be a Pal, the App works something like this: (1) if a Pal wants to work, Pals

12   see a list of available visits in their area (visits are sorted by distance from the Pal and can be

13   filtered by time and day of the week); (2) Pals can view details about visits, including the date,

14   time, location, duration, and the Services the Member wants help with; (3) Pals find a visit that

15   is a good fit—it fits their schedule, location requirements, and what Services they’re willing to

16   perform—then scroll to the bottom of the visit screen and tap ‘Accept Visit’; (4) Pals confirm

17   the visit, with a tap on the App; and (5) Pals either (a) for an in-person visit, start commute, then

18   start and complete the visit; or (b) for a virtual visit, start and complete the visit. Id.

19            Because Papa’s marketplace is driven by a Pal’s choice, the Pal experience is unique and

20   individual. Some Pals provide only one type of Service—say, in-person companionship or errand

21   help—while others may offer to help a Member with all Services, provided the Member lives in

22   a specific geographic area. Id. ¶ 16. Still other Pals only do virtual visits. Id.

23            Pals can choose to complete a single visit, several visits a day, or none at all, based

24   entirely on their preferences. Id. ¶ 17. After all, Papa imposes no requirements to accept or

25   complete visits. Id. Pals also choose how to complete the Services they provide. Id. Papa does

26   not tell Pals how to be companions or carry out the Services, leaving the “how” completely in

27   the Pal’s hands. Id

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 1            E.          Pals Choose When and Whether To Break For Meals And Rest Periods;

 2                        Papa Never Impedes Or Discourages Pals’ Rights To Control Their

 3                        Schedules.

 4            Because Pals set their own visit schedules, they decide when to take meal or rest periods.

 5   Bchara Decl. ¶ 18. In creating their schedule, Pals may, for example, choose to offer a single

 6   Service a day, allowing for time for a meal or rest period after. Id. Alternatively, they may choose

 7   to schedule a longer Service, and take a meal or rest period during the Service, or to forgo one

 8   altogether. Id. Most Pals perform visits that are shorter than three and a half hours. Id. ¶ 19. The

 9   average visit completed in California is approximately 118 minutes; the average in-person visits

10   is just over 2 hours, while the average virtual visit is 21 minutes. Id. But Pals can and do schedule

11   longer visits, subject to a visit maximum that is set by the Member’s health plan. Id. The current

12   visit maximum is five hours, meaning that at least one Client permits visits of up to five hours,

13   but many Clients only offer a maximum of two to four hours. Id. In every instance, Papa’s

14   practice is to leave it up to Pals to manage their meal and rest period needs. Id. Papa provides

15   reasonable opportunity to take meal and rest periods because it never controls how Pals perform

16   Services, and never impedes or discourages meal or rest periods while on a visit or otherwise. Id.

17            Significantly, the App encourages breaks between visits. It does so by preventing visits

18   from being scheduled if within 15 minutes from the end of prior scheduled visit. Id. ¶ 21. Since

19   visits are with few exceptions, offered at the half or full hour mark, Pals often see a forced 30-

20   minute break between visits. Id.

21            F.          Plaintiffs’ Experiences Differ From Other Pals.

22            Plaintiff Pardo signed up to be a Pal on October 20, 2020. Bchara Decl. ¶ 22. During the

23   time she was using Papa’s platform, which she has testified at her deposition was from 2020 until

24   February 2022, she performed just five visits. Id.; Pardo Dep. at 67:13–25, 68:1–25, 69:1–18.

25   These visits lasted between 5 and 20 minutes, and each was performed virtually. Bchara Decl. ¶

26   22.

27            Plaintiff Matthews conducted 1,224 visits from June 17, 2020, to March 7, 2022, and all

28   of them were virtual. Id. ¶ 23. The longest visit was 1 hour and 47 minutes and the shortest visit
                                                       8                     Case No.: 3:21-cv-06326-RS
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 1   was 5 minutes. Id. By her own testimony, she treated being a Pal as a telemarketer job, attempting

 2   to schedule and complete as many visits as possible in a day. See Matthews Dep. at 41:12–15

 3   (“No different than a lot of telemarketing jobs that I do.”); 47:20–23 (“[T]he [Papa] app was

 4   actually very, very advanced for, for telemarketing.”); 50:25–51:2 (“I had a full day to make as

 5   many calls that I wanted to, which isn’t uncommon in telemarketing, to do something like that.”);

 6   141:5–8 (“It’s not uncommon in telemarketing to have a pool of calls to go through and pull calls

 7   out of them to make the phone calls.”). That type of platform use stands in stark contrast to the

 8   way most Pals use the App. In fact, around 57% of the class never had a day with over 3.5 hours

 9   worked on a visit, 80% never had a day over 5 hours worked, and 96% never had a day with over

10   8 hours worked. Declaration of Alison Rose in Support of Defendant’s Opposition to Class

11   Certification (“Rose Decl.”) at Exhibit 28.

12            Neither Plaintiff signed Papa’s arbitration agreement. Id. ¶¶ 22–23. By contrast over 99%

13   of the class they seek to represent did. Id. ¶ 8.

14            Both Plaintiffs offered false testimony that they were later forced to recant. Plaintiff Pardo

15   testified that she spent time on standby and driving from one location to another. Declaration of

16   Plaintiff Jennifer Pardo in Support of Motion for Class Certification (“Pardo Decl.”) ¶ 13, ECF

17   No. 86-2. In her deposition she admitted that she did neither:

18                 •      “Q: And did you use your car at all for any of the visits performed through Papa’s

19                        platform? A: No.” Pardo Dep. at 109:8–11.

20                 •      “Q: Did you actually have to drive anywhere to do your visits? A. No.” Pardo

21                        Dep. at 115:2–4.

22                 •      “Q: And did you ever spend time on standby? A. No.” Pardo Dep. at 115:5–8.

23            Plaintiff Matthews testified that she used her personal vehicle to travel to visits and

24   incurred related expenses. Declaration of Plaintiff Evangeline Matthews in Support of Motion

25   for Class Certification (“Matthews Decl.”) ¶ 7, ECF No. 86-1. In her deposition, she admitted

26   she performed only virtual visits and never drove at all:

27                 •      “Q: You never did a single in-person visit when you performed services for Papa;

28                   is that right? A: That’s correct.” Matthews Dep. at 180:10–13.
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 1                 •      “Q: Did you or did you not have to pay any additional expense for automobile

 2                        insurance to work with Papa? A: Additional insurance? Q: Correct. A. No.”

 3                        Matthews Dep. at 191:7–14.

 4                 •      “Q: Did you, you never had to use your personal vehicle to travel to and from

 5                        visits with defendant’s customers; is that correct? A: Yes, that’s correct.”

 6                        Matthews Dep. at 196:10–15.

 7                 •      “Q: So under perjury, the statement that you said, in addition, although I used my

 8                        personal vehicle to travel to and from visits with defendant's customers, that’s not

 9                        a true statement, correct? . . . Q: Is it or is it not a true statement? A: Of Course,

10                        it’s not a true, it’s an error on my part, because I made a mistake when I read that.

11                        I don’t know why – no, it’s not a true statement.” Matthews Dep. at 197:20–25,

12                        198: 2–25.

13   III.     LEGAL STANDARD

14            Class actions are the “exception to the usual rule that litigation is conducted by and on

15   behalf of the individual named parties only.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348

16   (2011). To justify departing from this rule, Plaintiffs must satisfy the requirements of both Rule

17   23(a) and at least one requirement of Rule 23(b). See Bowerman v. Field Asset Services, Inc., 60

18   F.4th 459, 471 n.8 (9th Cir. 2023). In deciding whether to certify the class Plaintiffs seek to

19   represent, four requirements are of utmost importance here: (1) commonality; (2) typicality; (3)

20   predominance; and (4) superiority. See Leyva v. Medline Indus., 716 F.3d 510, 512 (9th Cir.

21   2013).

22            The commonality requirement rests on the premise that “[w]hat matters to class

23   certification ... is not the raising of common ‘questions’—even in droves—but rather, the

24   capacity of a class-wide proceeding to generate common answers apt to drive the resolution of

25   the litigation.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (citation and internal

26   quotation marks omitted). Claims are therefore only worthy of certification when they “depend

27   upon a common contention,” and that contention “must be of such a nature that it is capable of

28
                                            10                Case No.: 3:21-cv-06326-RS
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 1   classwide resolution—which means that determination of its truth or falsity will resolve an issue

 2   that is central to the validity of each one of the claims in one stroke.” Id.

 3            “The predominance inquiry asks whether the common, aggregation-enabling, issues in

 4   the case are more prevalent or important than the non-common, aggregation-defeating, individual

 5   issues.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (citation and internal

 6   quotation marks omitted).

 7            To demonstrate typicality, Plaintiffs must show that their claims are typical of the class

 8   and that they will fairly and adequately represent absent class members. See Evon v. Law Offices

 9   of Sidney Mickell, 688 F.3d 1015, 1030 (9th Cir. 2012) (citing Fed. R. Civ. P. 23(a)(3)).

10            Finally, Plaintiffs must show superiority, or that the class action device is the superior

11   method to resolve their claims. See Soares v. Flowers Foods, Inc., 320 F.R.D. 464, 484 (N.D.

12   Cal. 2017). In assessing this requirement, courts examine: (A) the class members’ interests in

13   individually controlling the prosecution or defense of separate actions; (B) the extent and nature

14   of any litigation concerning the controversy already begun by or against class members; (C) the

15   desirability or undesirability of concentrating the litigation of the claims in the particular forum;

16   and (D) the likely difficulties in managing a class action. Fed. R. Civ. P. 23(b)(3).

17   IV.      THIS COURT SHOULD DENY PLAINTIFFS’ MOTION FOR CLASS

18            CERTIFICATION.

19            Plaintiffs’ Motion seeks to certify a class of all individuals who performed work for Papa

20   in California and were classified as independent contractors from August 12, 2018 to the date of

21   trial. The class includes eight subclasses relating to purported (1) unpaid minimum wages; (2)

22   unpaid overtime wages; (3) unprovided meal breaks; (4) unprovided rest periods; (5) waiting

23   time penalties; (6) inaccurate wage statements; and (7) unreimbursed expenses. For the reasons

24   below, this Court should refuse to certify all of them.

25            A.          Plaintiffs Are Neither Typical Of The Class Nor Adequate Representatives.

26            To demonstrate typicality, Plaintiffs must show that their claims are typical of the class.

27   See Evon v. Law Offices of Sidney Mickell, 688 F.3d at 1030 (citing Fed. R. Civ. P. 23(a)(3)).

28   “The test of typicality is whether other members have the same or similar injury, whether the
                                                  11                      Case No.: 3:21-cv-06326-RS
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 1   action is based on conduct which is not unique to the named plaintiffs, and whether other class

 2   members have been injured by the same course of conduct.” Id. (quoting Hanon v. Dataproducts

 3   Corp., 976 F.2d 497, 508 (9th Cir. 1992)). Plaintiffs must also be able to fairly and adequately

 4   protect the interests of the class. See id. at 1031 (citing Fed. R. Civ. P. 23(a)(4)). “In making this

 5   determination, courts must consider two questions: ‘(1) do the named plaintiffs and their counsel

 6   have any conflicts of interest with other class members and (2) will the named plaintiffs and their

 7   counsel prosecute the action vigorously on behalf of the class?’” Id. (quoting Hanlon v. Chrysler

 8   Corp., 150 F.3d 1011, 1020 (9th Cir. 1998)). Plaintiffs are not typical of the class of Pals they

 9   seek to represent for at least two reasons.

10            To demonstrate adequacy, Plaintiffs must show that they can fairly and adequately

11   represent the interests of absent class members. See Marsh v. First Bank of Delaware, 2014 WL

12   554553, at *4 (N.D. Cal. Feb. 7, 2014). A class representative is “inadequa[te] [] where the

13   representative's credibility is questioned on issues directly relevant to the litigation or there are

14   confirmed examples of dishonesty, such as a criminal conviction for fraud.” Id. at *9. Applying

15   this rule, courts have found plaintiffs to be inadequate where they have offered untruthful

16   testimony in the litigation directly relevant to the litigation. See e.g., Norman v. Arcs Equities

17   Corp., 72 F.R.D. 502, 506 (D.C.N.Y. 1976).

18            Plaintiffs cannot satisfy either requirement. First, Plaintiffs did not sign an arbitration

19   agreement whereas 99.9% of the class did. Bchara Decl. ¶¶ 8, 22–23. Courts in this Circuit have

20   consistently held that a named plaintiff’s failure to sign an arbitration agreement with a class

21   action waiver forecloses that plaintiff from representing class members that have. See Campanelli

22   v. Image First Healthcare Laundry Specialists, Inc., 2018 WL 6727825, at *7 (N.D. Cal. Dec.

23   21, 2018). Such plaintiffs are not typical or adequate representatives because “those who signed

24   such waivers have potential defenses that [the named plaintiff] would be unable to argue on their

25   behalf.” Id. (citing Avilez v. Pinkerton Gov’t Servs., Inc., 596 F. App’x. 579 (9th Cir. 2015).

26            Second, both Plaintiffs provided testimony that was at best mistaken—and at worst, a

27   complete lie—concerning their experiences with Papa, calling into question whether they can

28   fairly and adequately protect the interests of the class. See supra Part II.F. Although they later
                                                     12                        Case No.: 3:21-cv-06326-RS
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 1   recanted testimony that Papa proved was obviously false, Papa can reasonably suspect that

 2   Plaintiffs’ other claims are untrue as well. They are inadequate representatives and class

 3   certification should be denied. See Norman v. Arcs Equities Corp., 72 F.R.D. 502, 506 (D.C.N.Y.

 4   1976) (denying certification where plaintiff was both evasive and untruthful in his deposition).

 5            Plaintiffs are neither typical of the class nor adequate representatives. Class certification

 6   should be denied for these reasons alone.

 7            B.          Individual Issues Predominate The Minimum Wage and Overtime Subclass.

 8            Plaintiffs seek to certify a minimum wage and overtime class based on the theory that

 9   Papa maintains a policy or practice—namely Papa’s Visit Standards, and the fact that the Papa

10   App interface requires Pals to schedule their own visits—that requires Pals to perform work that

11   Papa does not compensate for.2 This theory of recovery is not amenable to common proof.

12            First, there is no merit to Plaintiffs’ claim that the Visit Standards serve as common proof

13   that Papa required Pals to engage in work. “Where plaintiff[s] seek[] class certification on the

14   theory that the defendant employed a uniform unlawful policy or practice—as is the case here—

15   the Court must consider whether the plaintiff[s] provided substantial evidence that the entire class

16   was subject to the same allegedly [unlawful] practice.” Valencia v. VF Outdoor, LLC, 2022 WL

17   4397084, at *9 (E.D. Cal. Sept. 23, 2022) (quoting Ellis v. Costco Wholesale Corp., 657 F.3d

18   970, 983 (9th Cir. 2011). Plaintiffs have not done so here. Just the opposite. The evidence shows

19   that Visit Standards did not uniformly apply to the class:

20                 •      Papa’s Person Most Knowledgeable, Dani Bchara, made clear that the Visit

21                        Standards represent “best practice[s]” that Papa “encourage[s] . . . [Pals] to do,”

22                        and noted that for most of the guidelines, there would be no consequence for

23                        failing to follow them. Ex. 1 to Bronchetti Decl., Deposition of Dani Bchara

24                        (“Bchara Dep.”) 169:9–10, 171:7–8.

25
     2
26    Plaintiffs’ overtime theory appears to be derivative of their minimum wage claim. Because this
     Court should not certify the minimum wage claim, it should not certify the overtime claim either.
27   See Castillo v. Bank of America National Ass’n, 2019 WL 3818954, at *14 (C.D. Cal. July 16,
     2019) (because class certification was not appropriate, there was no basis to certify the derivative
28   wage statement class).
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 1                 •      Papa has no record of ever disciplining any Pal for failing to: (1) provide feedback

 2                        in the Papa app following a visit, (2) confirm visits with Members, or (4) failing

 3                        to call a Member. Bchara Decl. ¶ 13.

 4                 •      Plaintiff Matthews’ experience confirms that the Visit Standards did not

 5                        uniformly apply in practice and that they were not enforced. In her own words,

 6                        confirmation calls were “part of the new app, not the old app, and I stopped doing

 7                        it towards to the end”; “I know I stopped making them. I don’t know if it’s

 8                        something we agreed upon.” Matthews Dep. at 215:19–24, 226:10–12. She also

 9                        agreed that Papa never disciplined her for not following the Visit Standards. Id. at

10                        224:14 – 226:18.

11                 •      Plaintiff Pardo offered no testimony that Papa applied the Visit Standards to her

12                        at all. See generally, Pardo Dep.

13                 •      Moreover, as explained by Papa’s declarants, the Visit Standards are not

14                        requirements. See Martin Decl. ¶ 16; Haney Decl. ¶ 20; Johnson Decl. ¶ 19.

15                        Although Pals may provide feedback after a visit, declarants explained that they

16                        are not required to provide feedback and have not been disciplined by Papa for

17                        not doing so. See Martin Decl. ¶ 15; Haney Decl. ¶ 19; Johnson Decl. ¶ 18. Papa’s

18                        declarants also explained that they do not always call Members to confirm visits

19                        in advance. See Hoyt Decl. ¶ 14; Gacanovic Decl. ¶ 13; Martin Decl. ¶ 12; Haney

20                        Decl. ¶ 14; Johnson Decl. ¶ 13.

21            Courts have denied class certification based on similar facts. See In re: AutoZone, Inc.,

22   2016 WL 6834138, at *1 (N.D. Cal. Nov. 21, 2016) (recognizing that courts routinely deny

23   certification where there is not a consistently applied uniform policy); Ordonez v. Radio Shack,

24   Inc., 2013 WL 210223, at *11 (C.D. Cal. Jan. 17, 2013) (in the face of competing evidence that

25   an illegal policy actually applied in practice, plaintiff’s testimony that an illegal policy may have

26   existed was insufficient to support a finding that common issues predominated). This Court

27   should deny class certification here too.

28            Second, Plaintiffs’ argument that Papa requires them to schedule visits fares no better.
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 1   Papa’s entire platform operates on the principle of choice: Pals can choose to schedule a visit or

 2   to not schedule a visit at all. Bchara Decl. ¶ 17. Certainly, the data shows some Pals never made

 3   a single visit, and around 25% of Pals completed a single visit and then never scheduled a visit

 4   again. See Rose Decl. ¶ 36. Papa does not monitor or track the time Pals spend reviewing visit

 5   details and designing their schedules to fit their needs. Bchara Decl. ¶ 24. And Pals are free to —

 6   and in fact do—schedule visits during paid visit time. See e.g., Ex. 6 to Bronchetti Decl.,

 7   Declaration of Sandra Rodriguez (“Rodriguez Decl.”) (“If a visit involves taking a member to a

 8   doctor appointment, for example, I am free to [sic] what I want to do. I can and do use this time

 9   for my own personal reasons, to take breaks, to use the restroom, to check my personal email, to

10   schedule other visits with members, etc.”). Since when to schedule visits is also up to the Pal,

11   individualized issues will predominate whether Papa is liable for failing to pay for scheduling

12   time—even if it were deemed compensable. This is because the Court would have to resolve

13   whether the Pal was paid for scheduling because such time overlapped with a visit. Plaintiffs

14   offer absolutely no common evidence to address these types of issues, proving that no common

15   evidence can prove liability for these claims in one stroke.

16            Third, in the absence of substantial evidence that a consistently applied policy or practice

17   required Pals to engage in recommended tasks, like confirming visits or providing visit feedback,

18   individualized issues will predominate this claim. The reason: to determine whether Papa failed

19   to pay minimum wage for all tasks it suffered and permitted Pals to work, this Court would have

20   to assess whether (1) Pals were subject to Papa’s control when carrying out such activities; or (2)

21   Papa knowingly suffered or permitted such activities. See Morillion v. Royal Packing Co., 22 Cal

22   4th 575, 587 (2000) (recognizing that while California law requires an employer to pay its

23   employees minimum wage for all time employees are subject to the control of their employer,

24   including time employees are knowingly suffered or permitted to work, “[t]he level of the

25   employer’s control over its employees, rather than the mere fact that the employer requires the

26   employees’ activity, is determinative’ of whether an activity is compensable.”) Resolving these

27   claims would therefore require this Court to answer questions like (1) did Papa have knowledge

28   of this activity? (2) were Pals permitted to effectively use their time for their own purposes? (3)
                                                      15                         Case No.: 3:21-cv-06326-RS
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 1   did the activity benefit the Pal or Papa? and (4) did Papa enforce the activity through disciplinary

 2   measures? See e.g., Huerta v. CSI Elec. Contractors, 15 Cal. 5th 908, 919 (2024) (listing the

 3   factors relevant to determining whether an employer has the requisite control for purposes of

 4   determining whether activity is compensable).

 5            The facts in this case are therefore exactly like those in Roman v. Jan-Pro Fran. Intl.,

 6   Inc., 342 F.R.D. 274, 298 (N.D. Cal. 2022). There, as here, plaintiffs sued a defendant claiming

 7   that it misclassified them—and a class of other individuals. Id. There, as here, plaintiffs sought

 8   to certify a minimum wage class, based on the theory that the defendant had no policy to pay

 9   minimum wages to putative employees. Id. And there—as this Court should here—the court

10   declined to certify the class, noting that (1) the absence of a policy did not equate to the existence

11   of a uniformly applied unlawful policy; (2) the purported employer used a pay rate that exceeded

12   the minimum wage throughout the class period; and (3) plaintiffs offered no common evidence—

13   statistical or otherwise—to establish that the employer both knew work was occurring and failed

14   to pay the minimum wage for that work. Id. Certification of Plaintiffs’ minimum wage and

15   overtime claims are improper for the same reasons.

16            Plaintiffs’ minimum wage and overtime claims are ill suited for class treatment.

17            C.          Individual Issues Predominate The Meal Period Subclass.

18            Plaintiffs seek to certify their meal period subclass based on two theories of liability: (1)

19   Papa had no written policy to provide meal periods; and (2) a rebuttable presumption of liability

20   arises from Papa’s failure to maintain time records showing whether meal periods were taken.

21   Neither theory supports class treatment.

22                        1.    Papa has a practice to “provide” meal periods; that it has no written

23                              policy reflecting the same proves nothing.

24            An employer satisfies its obligation to provide meal periods “if it relieves its employees

25   of all duty, relinquishes control over their activities[,] [] permits them a reasonable opportunity

26   to take an uninterrupted 30-minute break, and does not impede or discourage them from doing

27   so.” Brinker Rest. Corp. v. Superior Ct., 53 Cal. 4th 1004, 1040 (2012). Significantly, there is no

28   legal requirement that an employer maintain a written policy to provide meal breaks. See Cal.
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 1   Lab. Code. § 512 (detailing the obligation to provide meal periods of 30 minutes); Brinker, 53

 2   Cal. 4th at 1040 (explaining that “[a]n employer’s duty with respect to meal breaks is an

 3   obligation to provide a meal period,” and describing what is required to satisfy this obligation,

 4   which does not include a written policy to provide meal breaks). For this reason, “[t]he absence

 5   of a [] policy is not the same as an existing, unlawful policy. Such an absence . . . does not

 6   evidence an unlawful practice that makes defendant likely to have failed to [comply with the

 7   law].” Roman v. Jan-Pro Fran. Intl., Inc., 342 F.R.D. 274, 298 (N.D. Cal. 2022).

 8            And that is exactly why Plaintiffs’ request to certify their meal period claims should fail

 9   here. Papa does not dispute that it has no written policy to provide meal breaks. But that failure

10   does not equate to common evidence that Papa failed to “provide” meal breaks. Indeed, the only

11   common evidence before this Court shows that Papa has a practice to provide meal breaks.

12   Specifically, no Papa policy or practice impedes or discourages meal breaks. Bchara Decl. ¶ 19.

13   Instead, the Papa App provides Pals with choices. Pals can choose whether to book a visit, when

14   to book a visit, the duration of any visit, and how to perform any Services while on that visit. Id.

15   ¶¶ 17–19. A Pal can decide to book multiple short visits, with time for meal breaks in between.

16   Id. A Pal can choose to book a single longer visit, and to take a break while on that visit or after.

17   Id. Or a Pal can choose not to book a visit at all. Id. And since a Pal’s schedule is completely up

18   to the Pal, Papa’s platform offers Pals every opportunity to take an uninterrupted 30-minute meal

19   period. Id. ¶ 19. Papa need not relinquish control over any Pal because Papa never retains any

20   control over Pals in the first place. Pals have full flexibility and autonomy in managing their

21   schedules. Id. ¶ 17. Pals are free to structure their days as they see fit and can choose when and

22   how long to take a break. Id. ¶ 18.

23            Plaintiffs’ theory of recovery is therefore nothing more than an attempt to argue that an

24   employer’s policy, consistently applied, is commonly suited for class treatment. But as discussed

25   in Part III.A., supra, “where plaintiff[s] seek[] class certification on the theory that the defendant

26   employed a uniform unlawful policy or practice—as is the case here—the Court must consider

27   whether the plaintiff[s] provided substantial evidence that the entire class was subject to the same

28   allegedly [unlawful] practice.” Valencia v. VF Outdoor, LLC, 2022 WL 4397084, at *9 (E.D.
                                                   17                   Case No.: 3:21-cv-06326-RS
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 1   Cal. Sept. 23, 2022). Plaintiffs have offered no evidence that the entire class was subject to the

 2   same unlawful practice — that Papa had a practice to deprive Pals of meal breaks. Rather, the

 3   evidence shows Papa had a practice to provide meal periods, and that it never interfered with

 4   Pals right to take them:

 5                 •      Papa’s Person Most Knowledgeable explained that Papa has a practice of

 6                        authorizing and permitting meal periods. Bchara Decl. ¶ 19. Such breaks are

 7                        permitted in Pals ability to create their own schedules and Pals ability to take

 8                        reasonable breaks during visits, if needed. Id. Papa does not impede or discourage

 9                        Pals from taking meal breaks. Id.

10                 •      The Papa application is set up in such a way that authorizes Pals to take an

11                        effectively 30-minute break in between visits.3 Pals cannot schedule back-to-back

12                        visits because the application forces Pals to take a 15-minute break in between

13                        visits, and, with limited exceptions, visits are available on the half and full hour

14                        mark. Bchara Decl. ¶ 21. As explained by Papa’s declarants, “[i]f I do complete

15                        multiple visits, the Papa app forces me to take a mandatory 30-minute break in

16                        between, even if I don’t want or need one.” Ex. 5 to Bronchetti Decl., Declaration

17                        of Kellie Hynds (“Hynds Decl.”) ¶ 6; Ex. 7 to Bronchetti Decl., Declaration of

18                        Nancy Gonzales (“Gonzales Decl.”) ¶ 7; Ex. 9 to Bronchetti Decl., Declaration

19                        of Cassie King (“King Decl.”); ¶ 7; Gacanovic Decl. ¶ 6; Rodriguez Decl. ¶ 7;

20                        Hoyt Decl. ¶ 6; Johnson Decl. ¶ 7.

21                 •      Papa’s declarants also testified that (1) they understand they can take an

22                        uninterrupted meal period of at least 30 minutes, (2) no Member has ever tried to

23                        interfere with them taking a meal period, and (3) no employee of Papa has

24                        interfered with them taking a meal period, nor told them they cannot take an

25
     3
26     While the technical rule on Papa’s back-end requires a 15-minute buffer between visits, (i)
     nearly 90% of all visits are scheduled for the top or the bottom of the hour; and (ii) if an actual
27   visit goes over the scheduled visit time (i.e., 11:01, the Pal would be prohibited from scheduling
     an impromptu visit on the quarter-hour). See Bchara Decl. ¶ 21; Rose Decl. ¶ 38. This is what
28   creates the forced break Pals regularly see. Bchara Decl. ¶ 21.
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 1                        uninterrupted 30-minute meal period. King Decl. ¶ 12; Gacanovic Decl. ¶ 10;

 2                        Gonzales Decl. ¶ 11; Rodriguez ¶ 12; Hoyt Decl. ¶ 11; Johnson Decl. ¶ 10.

 3                 •      Plaintiff Matthews also confirmed that Papa never told her she was not permitted

 4                        to take a meal period. See Matthews Dep. at 121:16–23. When asked whether

 5                        “anyone at Papa, either in writing or verbally, [told] [her] [she] [was] not

 6                        permitted to take any breaks,” she answered “[o]kay. Well, they didn’t say it’s

 7                        not, in writing or in person, say you could not take a break, no, they did not.” Id.

 8                        As Plaintiff Matthews made her own schedule, she herself chose not to take

 9                        breaks. See id. at 145:15–20, 146:6–7. She testified that taking breaks is “not [her]

10                        style,” and that she “[does not] make money by getting up and getting something

11                        to eat.” Id.

12                 •      And Plaintiff Pardo offered no testimony supporting that Papa prohibited,

13                        interfered, prevented, impeded, or discouraged her from taking meal breaks. In

14                        fact, she testified that she never complained to Papa that she missed a meal period.

15                        “Q: You never complained that you had a missed meal period; is that true? A:

16                        Yes, that’s true.” Pardo Dep. 120:24–25; 121:1.

17            Class certification of Plaintiffs’ meal period claim should be denied based on this theory.

18                        2.      The Donohue presumption creates myriad liability questions under

19                                these facts.

20            Although courts presume that an employer is liable for failing to provide legally

21   compliant meal periods when that employer’s time records show missed, short, or late meal

22   periods, this presumption does not result in “automatic liability” or mandate class certification.

23   Donohue v. AMN Servs., LLC, 11 Cal. 5th 58, 75, 77 (2021) (“Applying the presumption does

24   not mean that time records showing missed, short, or delayed meal periods result in ‘automatic

25   liability’ for employers.”); see Brinker, 53 Cal. 4th at 1053 (even if rebuttable presumption of

26   liability on meal period claim exists, denial of class certification may still be appropriate).

27   Instead, the presumption merely shifts the burden to an employer to show it (1) compensated

28   employees for noncompliant meal periods; or (2) provided lawful meal periods but employees
                                                 19                      Case No.: 3:21-cv-06326-RS
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 1   chose to work anyway. See Donohue, 11 Cal. 5th at 77. A party need not “definitively rebut the

 2   presumption” at certification; it need only show that the presumption cannot be addressed with

 3   common evidence. See Alberts v. Aurora Behav. Health Care, 241 Cal. App. 4th 388, 420 (2015).

 4            Liability for failing to provide meal periods cannot be resolved classwide based on the

 5   complete absence of time records. To prove Papa provided a compliant meal period but that a

 6   particular Pal waived their right to take it, Papa must have the opportunity to inquire into whether:

 7   (1) a Pal preferred to take a meal period at a later time; (2) the Pal received any contrary

 8   instructions from anyone to not take a break; (3) the Pal has documentation that Papa or a Member

 9   interfered with a Pal’s right to take a meal break during a visit; (4) a Pal’s allegation that they

10   didn’t receive a break is consistent with their scheduling choices on any given day; (5) the

11   Services each Pal provided were virtual or in person; (6) the scheduling preferences of each Pal;

12   (7) the impact of the App’s forced 30-minute break between each Service; and (8) whether the

13   nature of the Services the Pal provided—which vary by each Pal and each visit—unduly

14   interfered with the opportunity to take breaks. These questions predominate over the single

15   question Plaintiffs seek to resolve by introducing the complete absence of records showing that

16   Pals took meal breaks.

17            To be sure, several Pals have already testified that they were provided meal periods, and

18   that Papa’s data does not accurately reflect whether they took a meal break on any given day:

19                 •      “I know I can take a meal break of at least 30 minutes, completely uninterrupted,

20                        if I ever need one.” King Decl. ¶ 12.

21                 •      “I do not clock in and out for meal periods using the app. But I always take meal

22                        periods if I am completing a longer visit. The Papa application data would not be

23                        an accurate reflection of whether I took a meal period on any given day.”

24                        Gacanovic Decl. ¶ 11; see also Gonzales Decl. ¶ 14; see also Hynds Decl. ¶ 13;

25                        see also Rodriguez Decl. ¶ 14; see also Hoyt Decl. ¶ 12; see also Johnson Decl. ¶

26                        11.

27            Plaintiffs offer no plan to manage these individualized inquiries and it’s not clear they

28   can. Representative testimony, surveys, and statistical analysis are inappropriate tools because
                                                   20                         Case No.: 3:21-cv-06326-RS
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 1   Papa’s waiver defense operates “to extinguish [Papa’s] liability [not] only to diminish the amount

 2   of a given plaintiff’s recovery.” Brinker, 53 Cal. 4th at 1054 (adopted “in full” by Donohue). As

 3   a result, courts that have used such evidence have generally done so where, unlike here, the

 4   employer’s defense relates to trying and managing individualized issues relating to damages. See

 5   e.g., Dilts v. Penske Logistics, LLC, 267 F.R.D. 625, 638 (S.D. Cal. 2010) (permitting use of

 6   representative testimony where liability could be established through common evidence); In re

 7   Wells Fargo Home Mortg. Overtime Pay Litig., 268 F.R.D. 604, 612 (N.D. Cal. 2010) (refusing

 8   use of representative testimony where liability could not be established through common

 9   evidence). This case cannot be certified on the complete absence of time records either.

10            D.          Individual Issues Predominate The Rest Period Subclass.

11            Plaintiffs seek to certify their rest period claim based on the exact same theory as their

12   meal period claim: that Papa did not have a written policy to provide rest periods. See Motion at

13   21. This theory fails for the same reasons asserted in Part III.B.1., supra: no law requires an

14   employer to have a written policy to provide rest periods and the absence of a written policy does

15   not equate to common evidence of an unlawful practice consistently applied. See Roman v. Jan-

16   Pro Fran. Intl., Inc., 342 F.R.D. 274, 298 (N.D. Cal. 2022). Besides, the available evidence

17   shows a practice to provide rest periods too:

18                 •      “I may have a significant amount of downtime. If a visit involves taking a member

19                        grocery shopping, for example, I am free to what I want to do. I can take a break,

20                        talk on the phone, etc. Even if there isn’t obvious downtime, I am able to take a

21                        rest break when I feel like it.” King Decl. ¶ 10.

22                 •      “I know I can take a rest break—or two—of at least 10 minutes if I want to no

23                        matter the length of my visits. No member has ever tried to interfere with me

24                        taking a rest break, and no employee of Papa has ever told me I could not take a

25                        rest break. Taking a rest break is completely up to me because I control every

26                        aspect of my visits with a member.” Gonzales Decl. ¶ 10.

27                 •      “Depending on the type of visit, I may have a significant amount of downtime. If

28                   a visit involves taking a member to a doctor appointment, for example, I am free
                                                    21                       Case No.: 3:21-cv-06326-RS
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 1                        to [sic] what I want to do. I can and do use this time for my own personal reasons,

 2                        to take breaks, to eat, to talk on the phone with my daughter, etc. Even if there

 3                        isn’t obvious downtime, I am able to take a rest break when I feel like it.”

 4                        Gacanovic Decl. ¶ 8.

 5                 •      “If a visit involves taking a member to a doctor appointment, for example, I am

 6                        free to what I want to do. I can and do use this time for my own personal reasons,

 7                        to take breaks, to use the restroom, to check my personal email, to schedule other

 8                        visits with members, etc. Even if there isn’t obvious downtime, I am able to take

 9                        a rest break when I feel like it.” Rodriguez Decl. ¶ 11.

10            Since Plaintiffs have offered no common evidence of a consistently applied policy or

11   practice to deprive Pals of rest periods, let alone substantial evidence of such a practice,

12   certification of this claim must be denied outright. See Washington v. Joe’s Crab Shack, 271

13   F.R.D. 629, 641 (N.D. Cal. 2010) (finding where an employee “has established that its time

14   records will not show when rest breaks were taken . . . . individualized analyses must be

15   conducted to determine whether and when rest breaks were not taken”).

16            E.          Individual Issues Predominate The Expenses Subclass.

17            Labor Code section 2802 requires employers to indemnify employees for reasonable

18   expenses incurred as a direct consequence of the performance of their duties. See Cal. Lab. Code

19   § 2802. A few caveats, however, ensure that employers aren’t forced to foot the bill for every

20   possible expense. First, expenses an employee incurs out of their preference or convenience are

21   not    reimbursable.        See   e.g.,   Lawson    v.   PPG     Architectural   Finishes,   Inc.,   No.

22   SACV1800705AGJPRX, 2019 WL 3308827, at *7 (C.D. Cal. June 21, 2019). Second, expenses

23   must be reasonable and necessary. Cal. Lab. § 2802; Grissom v. Vons Companies, Inc., 1 Cal.

24   App. 4th 52, 57 (1991) (recognizing that expenses would not be reimbursable where “an

25   employee’s expenditure of money . . . [is] totally unnecessary . . . and highly unreasonable.”).

26   And finally, liability requires proof that the employer knew or had reason to know that employees

27   have incurred such expenses. Stuart v. RadioShack Corp., 641 F. Supp. 2d 901, 904 (N.D. Cal.

28   2009).
                                            22                Case No.: 3:21-cv-06326-RS
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 1            Plaintiffs claim that certification of their cellphone and internet expenses subclass is

 2   appropriate because Papa required Pals to incur cellphone costs, cellphone data charges, and

 3   home internet expenses. This is inaccurate: although use of the App requires a connection to the

 4   internet or active cellular connection, there is absolutely no reason why Pals cannot make use of

 5   free Wifi to access the App. See Bchara Decl. ¶ 12. Free Wi-Fi is available at numerous retail

 6   establishments and at public libraries and Plaintiffs cite to no common policy that Papa required

 7   Pals to incur internet or data charges to access the App. Consequently, any expenses Pals incurred

 8   using their own data or Wi-Fi to connect to the App were incurred out of their preference or

 9   convenience and are not reimbursable. See e.g., Lawson v. PPG Architectural Finishes, Inc.,

10   2019 WL 3308827, at *7 (C.D. Cal. June 21, 2019). Several Pals admit as much: “I understand

11   that I could use free internet at library or a coffee shop to access the application. I choose to

12   access the application using my cellular plan for my own convenience.” Haney Decl. ¶ 17; see

13   also Martin Decl. ¶ 14 (“I understand that I could use free internet available at a library or coffee

14   stop to access the Papa application, but I choose to access the application using my own

15   internet/cellular plan for my own convenience.”); see also Johnson Decl. ¶ 17 (“I understand I

16   could use free internet at a library or coffee shop, but I choose to access the app using my own

17   cellular plan for my own convenience.”). Given this, at the very least, certification of this claim

18   will require individualized inquiries into whether (1) it was reasonably necessary for each Pal to

19   use their personal data plans or home internet where free sources are or were available; and (2)

20   Pals chose to use their cell phone data plans and home internet for personal convenience.

21   Certification of this subclass should be denied. See Briggs v. OS Rest. Servs., LLC, 2020 WL

22   6260001, at *21 (C.D. Cal. Aug. 26, 2020) (denying class certification on claim for failure to

23   reimburse expenses where plaintiffs did not provide common evidence of practice requiring

24   purchase).

25            Plaintiffs’ claim for transportation and vehicle use expenses, including expenses incurred

26   commuting, goes nowhere because Papa pays Pals for transportation and vehicle use. Bchara

27   Decl. ¶¶ 11–12; see section II. B., supra (Pals receive transportation pay and an hourly rate that

28   encompasses visit time and any legally required commute expenses). Plaintiffs’ argument then,
                                                   23                     Case No.: 3:21-cv-06326-RS
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 1   is essentially that Papa does not pay enough for transportation, and that is not a certifiable theory

 2   of recovery. An employer’s duty under Labor Code section 2802 is to reimburse employees for

 3   expenses they actually incur. Cal. Lab. Code 2802. Accordingly, to determine whether Papa paid

 4   enough, this Court would need to inquire whether Papa’s method of reimbursement, a fixed

 5   amount per mile, adequately compensated Pals for their transportation costs. This would turn on

 6   numerous individual issues. Of course, liability in such cases turns “not only the actual expenses

 7   that the employee incurred, but also whether each of those expenses was ‘necessary,’ which in

 8   turn depends on the reasonableness of the employee's choices.” Gattuso v. Harte-Hanks

 9   Shoppers, Inc., 42 Cal. 4th 554, 568 (2007). As explained in Gattuso:

10            For example, an employee's choice of automobile will significantly affect the

11            costs incurred. An employee who chooses an expensive model and replaces it

12            frequently will incur substantially greater depreciation costs than an employee

13            who chooses a lower priced model and replaces it less frequently. Similarly, some

14            vehicles use substantially more fuel or require more frequent or more costly

15            maintenance and repairs than others. The choice of vehicle will also affect

16            insurance costs. Other employee choices, such as the brand and grade of gasoline

17            or tires and the shop performing maintenance and repairs, will also affect the

18            actual costs. Id.

19            In short, there is no common way to determine whether Papa’s method of

20   reimbursement failed to adequately reimburse Pals for transportation costs.

21            These individualized inquiries are exactly why Plaintiffs’ reliance on Johnson v. Serenity

22   Transp., Inc., 2018 WL 3646540, at *14 (N.D. Cal. Aug. 1, 2018) and James v. Uber Techs. Inc.,

23   338 F.R.D. 123, 139 (N.D. Cal. 2021) is misplaced. In those cases, the court certified the expense

24   reimbursement claims because there was common evidence that the employer had no policy to

25   reimburse at all. See Johnson v. Serenity Transp., Inc., 2018 WL at *14 (reimbursement policy

26   only compensated drivers for mileage in excess of 20 or 30 miles and failed to compensate drivers

27   for mileage less than 20 or 30 miles, required purchase or lease of van-like vehicles, business

28   license, fuel, or maintenance); James v. Uber Techs. Inc., 338 F.R.D. at 139 (no reimbursement
                                                   24                        Case No.: 3:21-cv-06326-RS
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 1   policy at all). The complete absence of a policy to reimburse meant that liability could be determined

 2   without further inquiry at all. That is simply not the case here, where there is a policy to reimburse

 3   Pals for vehicle use. This Court should refuse to certify Plaintiffs’ expense reimbursement claim.

 4            F.          Individual Issues Will Predominate Damages Calculations.

 5            Although “the presence of individualized damages cannot, by itself, defeat class

 6   certification,” this rule cannot be applied to swallow Rule 23(b)’s requirement that common

 7   questions “predominate over any questions affecting only individual members.” Fed. R. Civ. P.

 8   23; see Bowerman v. Field Asset Services, Inc., 60 F.4th at 469 (denying certification where

 9   issues going to damages predominated in the absence of any expert or reliable representative

10   evidence to calculate damages). Stated differently, before granting class certification, a court

11   must be implicitly satisfied that questions going to damages will not predominate over individual

12   ones. Id. This will be nearly impossible here.

13            First, Plaintiffs have no plan to address how they will calculate damages. They have

14   neither retained an expert nor explained how, under the facts here, expert or representative

15   testimony can reliably measure damages to each Pal if liability can be determined on the merits.

16            Second, Plaintiffs’ testimony exemplifies the questions the parties will be forced to

17   answer if this case is permitted to proceed as a class:

18                 •      Plaintiff Matthews repeatedly testified that she has no records to support the

19                        amount of time she worked that she was allegedly unpaid. Instead, Plaintiff

20                        Matthews estimates are based on “what [she] think[s] [her] time is worth.”

21                        Matthews Dep. at 134:3–5. Damages cannot be calculated on such a basis. When

22                        asked whether she ever spent less than 15 minutes completing notes after a call,

23                        she stated: “I never timed myself how long I took my notes . . . I’ve given you a

24                        fair estimate of what I think my time is worth.” Id. at 134:1–5. She was also asked

25                        whether she “ever keep track of how many hours [she] [was] performing work for

26                        Papa,” to which she replied: “I did not.” Id. at 101:8–12.

27                 •      There are many other instances where Plaintiff Matthews explicitly testifies that

28                   she has no records to support her allegations. She was asked “[s]o, 15 minutes a
                                                    25                        Case No.: 3:21-cv-06326-RS
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 1                        day, each day, you’re claiming you were not paid for time you spent

 2                        communicating with Papa; is that right,” to which she replied “I can’t give you an

 3                        exact time, or even - - I just don’t know. I didn’t track that information.” Matthews

 4                        Dep. at 83:24–25-84:1, 84:8–10. And when asked what time she started work on

 5                        a specific day, she testified, “[w]ell, I would assume I started probably about 15

 6                        minutes before my shift, before the first call, but I’m really not sure. I didn’t keep

 7                        a log. I didn’t keep track of this. I’m sorry I didn’t keep track of my hours. I should

 8                        have kept a better log.” Id. at 135:6–15.

 9                 •      With respect to the time Plaintiff Matthews claims she spent taking notes, she

10                        again testifies that she has nothing to support her allegations. When asked, “[d]id

11                        it ever take you less than 15 minutes to complete notes of a call? And I’m talking

12                        about a 2-minute call, for example,” she could not answer the question, explaining

13                        “I don’t know, because I didn’t keep a log, a call log like that.” Matthews Dep. at

14                        134:7–13.

15                 •      Similarly, Plaintiff Pardo testified she “wasn’t keeping track” of the visits she

16                        completed. Pardo Dep. at 62:15–20. She also does not recall exactly how long she

17                        spent filling out surveys after visits, nor did she provide any testimony that she

18                        tracked how long these surveys took her. Id. at 79:3–7.

19            Third, as Papa’s expert details more fully in her declaration, Plaintiffs have offered no

20   plan or analysis indicating: 1) How they intend to manage individualized issues with respect to

21   incurred expenses; 2) How they intend to demonstrate failure to pay minimum wage and/or

22   overtime; or 3) How they intend to demonstrate failure to provide meal and rest breaks. With

23   respect to each of these items, the available data suggests that individualized inquiry may be

24   required to determine liability and subsequent damages, if any. Rose Decl. ¶ 9.

25                 •      As to expenses, phone, and internet costs will vary by Pal based on what Service

26                        provide and plan is selected. Rose Decl. ¶ 10. Plaintiffs offer no plan to explain,

27                        for example, how to allocate expenses to their line to the extent they were on a

28                   family plan. Plaintiffs have also failed to specify how internet expense should be
                                                      26                        Case No.: 3:21-cv-06326-RS
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 1                        computed if a Pal is using public or otherwise free Wi-Fi to conduct a visit or

 2                        other alleged work-activities. Id. The analysis of expenses could be further

 3                        complicated if Pals also perform work for other app-based companies (i.e.,

 4                        whether they are also running Uber, Lyft, Instacart, or other applications on their

 5                        phone that are using data at the same time they are running the Papa app), and

 6                        how any costs for that time should be allocated to Papa. Id. Specifically, the

 7                        available data is insufficient to determine expenses incurred by Pals. Id.

 8                 •      As to vehicle expenses, Plaintiffs have no plan to determine what expenses Pal

 9                        actually incurred, or to refute that Papa’s mileage reimbursement method was

10                        insufficient. Indeed, Papa’s expert opines that the IRS rate may not be a reliable

11                        measure and further that the mileage rate that Papa did provide likely over-

12                        reimbursed many Pals. Rose Decl. ¶ 11.

13                 •      As to minimum wage, overtime, and breaks, the data is simply insufficient to

14                        determine hours spent outside of completing a visit. Rose Decl. ¶ 12. What’s

15                        more, the data shows that Pals frequently do not record the end time of started

16                        visits leading to incomplete information about actual time spent in a visit. Id.

17                        Additionally, Plaintiffs provide no method to quantify time spent purportedly

18                        performing work outside the App, e.g., following the Visit Standards.

19            Damages simply cannot be adjudicated without inquiry into each Pal’s experience, so

20   class certification is inappropriate.

21            G.          Plaintiffs’ Derivative Claims Cannot Be Certified Either.

22            Plaintiffs concede their wage statement, waiting time, and unfair business practices

23   claims are derivative of the underlying meal and rest break, minimum wage, overtime, and

24   reimbursement claims. Motion at pp. 23–24. Their derivative claims cannot be litigated on a

25   class-wide basis for the same reasons discussed above. See, e.g., Castillo v. Bank of America

26   National Ass’n, 2019 WL 3818954, at *14 (C.D. Cal. July 16, 2019) (because class certification

27   was not appropriate, there was no basis to certify the derivative wage statement class).

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 1            H.          Class Treatment Is Not Superior Under These Facts.

 2            Plaintiffs offer absolutely no method or plan to try any of the individualized issues in this

 3   case, relying solely on their contention that common questions predominate the misclassification

 4   issue. They are mistaken.

 5            “If each class member has to litigate numerous and substantial separate issues to establish

 6   his or her right to recover individually, a class action is not ‘superior.’” Zinser v. Accufix Rsch.

 7   Inst., Inc., 253 F.3d 1180, 1192 (9th Cir. 2001). Courts evaluate the four factors enumerated in

 8   Rule 23(b)(3) to determine whether the class action device serves its purpose: reducing litigation

 9   costs and promoting greater judicial efficiency. See id. Most relevant under these facts is the

10   fourth factor, which considers the difficulties likely to be encountered in the management of a

11   class action. See Fed.R.Civ.P. 23(b)(3)(D). Applying that factor here leads to one conclusion: the

12   complexities of class treatment here weigh heavily against certification.

13            As described above, because Plaintiffs do not offer common evidence to establish their

14   claims—e.g., evidence of an unlawful policy consistently applied—each Pal will be forced to

15   litigate substantial separate issues to establish their right to recover.

16            And even after these issues are litigated, the parties will still have to litigate individual

17   damages issues. There is no fair way to establish the amount of damages each Pal would be

18   entitled to even if liability can be proven because too many individualized issues pervade the

19   damages calculation. For example, as to the minimum wage and overtime claims alone, how long

20   Pals spent choosing a visit that fits their individual needs, including selecting the location,

21   duration, and type of visit request or Service requested, will vary by each individual Pal, and

22   each day. How long Pals spent confirming visits will vary based on each Pal too. Did the Pal

23   merely tap the confirm visit button in the App, did they call the Member to confirm, did they do

24   both? Did they leave a message? Did they talk to the Member and for how long? Papa has no

25   data to answer these questions so the only way they can fairly be answered is through the

26   testimony of the Pals themselves.

27            Class treatment will not improve litigation efficiency here.

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 1   V.       CONCLUSION

 2            For the foregoing reasons, Papa respectfully requests that the Court deny Plaintiffs’

 3   Motion.

 4    Dated: September 30, 2024                    GREENBERG TRAURIG, LLP

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